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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 17-20186-CIV-JEM

  GLORIDELFA BARRIOS and all others    )
  similarly situated under 29 U.S.C. 216(b),
                                       )
                                       )
                Plaintiffs,            )
        vs.                            )
                                       )
  SOLASI ACCOUNTING & TAX ADVICE & )
  DESIGN OF THE WORDS IN DARK BLUE )
  AT LEFT SIDE HAS A CIRCLE COLORED )
  BLUE, PURPLE AND GREEN LIGHT a/k/a )
  SOLASI, LACAYO TRADE GROUP INC, )
  SOPHIA LACAYO,                       )
                                       )
               Defendants.             )
  ____________________________________ )

       PLAINTIFF’S MOTION FOR SANCTIONS UNDER 28 U.S.C. SECTION 1927 1

      COMES NOW the Plaintiff, through the undersigned, and moves the Court to impose

  sanctions against Defendants and Defendants’ counsel, jointly and severally, as follows under 28

  U.S.C. Section 1927:

      1. On May 17, 2017, Plaintiff served her Notice of Inspection of Defendants’ Premises,

         pursuant to Fed. R. Civ. P. 34, via email to prior Defense Counsel to occur on June 23,

         2017. While Defendants responded via email that they opposed same they never filed

         anything on the record to reflect their opposition and/or moved for Court intervention. As

         such, Plaintiff with her counsel appeared as properly noticed at Defendants’ premises.

      2. Plaintiff, thereafter, set her Motion to Compel the inspection of premises, along with her

         request for an award of fees and costs and all related work in relation to Defendants

  1
    Plaintiff respectfully requests the Court take Judicial Notice that Defendants, jointly and
  severally, are in a default posture as there was a Clerk Entry of Default as to all Defendants.
  [DE94]. Defendants’ Answer and Affirmative Defenses [DE93] was filed mere minutes prior to
  the entry of same.
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        failure to appear as properly noticed and for the inspection not proceeding. See, [DE28];

        [DE31].

     3. Prior to the Hearing, the Parties filed a Joint Notice of Hearing Before the Honorable

        Magistrate Judge Goodman wherein the Parties stated that “…Defendants’ are

        stipulating to the $500,000 monetary threshold requirement and interstate commerce

        for the years 2014 through to and including 2017 and, as such, no discovery needs to

        be conducted in relation to same based on this stipulation.” [emphasis added]. [DE35,

        ¶5]. As per the Joint Notice, based on Defendants’ stipulation, Plaintiff did not conduct

        any discovery related to either the monetary threshold requirement and/or interstate

        commerce for FLSA enterprise coverage/subject-matter jurisdiction.

     4. Prior to the filing of the Joint Notice [DE35], Plaintiff also received written confirmation

        via email from prior Defense counsel regarding the stipulation, which was filed as an

        exhibit on CM/ECF along with Plaintiff’s Statement of Material Facts in Support of

        Plaintiff’s Motion for Summary Judgment. See, [DE70-2].

     5. Despite Defendants’ clear stipulation on the record regarding FLSA enterprise

        coverage/subject-matter jurisdiction, Defendants and their counsel drafted and filed their

        Motion to Dismiss Plaintiff’s First Amended Complaint [DE93] alleging that the

        Complaint should be dismissed for lack of subject matter jurisdiction attacking the

        sufficiency of the factual allegations pertaining to interstate commerce.

     6. Immediately after Defendants’ Motion [DE93] was filed, 4/3/18, the undersigned email

        Defense counsel advising him that said Motion was filed in bad-faith and frivolous in

        content. The undersigned then followed up with a phone call to Defense counsel and left

        a voice message for same. That very same day, in response to Defense counsel’s inquiry



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         as to said stipulation, the undersigned provided copies of emails by and between prior

         counsel and Plaintiff’s counsel reflecting the stipulation and also advised that the record

         was clear regarding same. The following day, 4/4/18, the undersigned followed up with

         another email and another phone call to Defense counsel, both of which went unanswered

         and Defendants’ Motion [DE93] was not withdrawn.

     7. Defendants and their counsel in bad faith filed a vexatious Motion to Dismiss [DE93]

         attacking the sufficiency of Plaintiff’s First Amended Complaint on legal and factual

         issues Defendants have stipulated to and which caused Plaintiff to stop discovery related

         to same and, thus, unnecessarily multiplied the proceedings, caused unnecessary legal

         work to be expended by Plaintiff’s counsel and the Court, and recklessly attacks a

         pleading on an issue that has been stipulated to by email and on the record.

     8. A frivolous responsive pleading [DE93] is sanctionable. Therefore, for the reasons set

         forth supra, Defendants and Defendants’ counsel should be sanctioned respectively under

         28 U.S.C. Section 1927.

                                     MEMORANDUM OF LAW

         Defendants’ Motion to Dismiss [DE93] due to the frivolous content of the pleading is

  vexatious and in bad faith under Section1927. Peterson v. BMI Refractories, 124 F.3d 1386,

  1396 (11th Cir. 1997)(conduct is vexatious and unreasonable when it “results in proceedings that

  would not have been conducted otherwise[]”). Plaintiff therefore seeks sanctions for all fees and

  costs accordingly against both Defendants and Defendants’ counsel in relation to their frivolous

  and bad faith pleading.

         For purposes of brevity, as abovementioned the Parties jointly filed a Notice with the

  Court stating that “…Defendants’ are stipulating to the $500,000 monetary threshold



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  requirement and interstate commerce for the years 2014 through to and including 2017 and, as

  such, no discovery needs to be conducted in relation to same based on this stipulation.”

  [emphasis added]. [DE35, ¶5]. The stipulation was a result of conferral and is documented by

  way of emails by and between Plaintiff and prior counsel, which was also filed on the record as

  an exhibit attached to Plaintiff’s Statement of Material Facts in Support of Plaintiff’s Motion for

  Summary Judgment [DE70-2]. A diligent review of the record/CM/ECF would have turned up

  this and thereby obviated the need for Defendants to file their Motion to Dismiss attacking the

  sufficiency of Plaintiff’s allegations related to interstate commerce. A frivolous pleading is

  sanctionable.

         As noted by the Eleventh Circuit in Amlong, the requirement of imposing sanctions

  pursuant to 28 U.S.C. §1927 requires a higher standard.             See SEC v. Creative Capital

  Consortium, LLC, 2009 U.S. Dist. LEXIS 116312 (S.D. Fla. Nov. 24, 2009) citing Byrne v.

  Nezhat, 261 F.3d 1075, 1106 (11th Cir. 2001) (quoting Chambers v. NASCO, Inc., 501 U.S. 32,

  43, 111 S. Ct. 2123, 115 L. Ed. 2d 27 (1991)). However, as cited in SEC, “[b]ecause the court's

  inherent power is so potent, it should be exercised 'with restraint and discretion.'" Byrne, 261

  F.3d at 1106 (citing Chambers, 501 U.S. at 50).” Id at. *13.


                  However, because of their potent nature, "inherent powers must be
                  exercised with restraint and discretion." Id., 501 U.S. at 42-43, 111
                  S. Ct. at 2131-32, 115 L. Ed. 2d at 45 (citing Roadway Express,
                  Inc. v. Piper, 447 U.S. 752, 764, 100 S. Ct. 2455, 2463, 65 L. Ed.
                  2d 488, 499-500 (1980)). A primary aspect of that discretion is the
                  ability to fashion an appropriate sanction for conduct which abuses
                  the judicial process." Id. For example, circumstances which may
                  dictate the exercise of inherent power to assess attorney's fees
                  against counsel, include those where a party has acted in "bad
                  faith, vexatiously, wantonly, or for oppressive reasons." Id.
                  (citations omitted).Glatter v. Mroz (In re Mroz), 65 F.3d 1567,
                  1575 (11th Cir. Fla. 1995).



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                 Invocation of a court's inherent power requires a finding of bad
                 faith. Chambers, 501 U.S. at 49, 111 S. Ct. at 2135, 115 L. Ed. 2d
                 at 48. The court must afford the sanctioned party due process, both
                 in determining that the requisite bad faith exists and in assessing
                 fees. Id. Due process requires that the attorney (or party) be given
                 fair notice that his conduct may warrant sanctions and the reasons
                 why. Donaldson v. Clark, 819 F.2d 1551, 1559-60 (11th Cir.1987)
                 (discussing Rule 11 sanctions). Notice can come from the party
                 seeking sanctions, from the court, or from both. Id. at 1560. In
                 addition, the accused must be given an opportunity to respond,
                 orally or in writing, to the invocation of such sanctions and to
                 justify his actions.

  Glatter v. Mroz (In re Mroz), 65 F.3d 1567, 1576 (11th Cir. Fla. 1995). See also DeVaney v.

  Continental Am. Ins. Co., 989 F.2d 1154, 1159 (11th Cir. Ala. 1993) (sanctions under rule 37

  should not be imposed lightly or without fair notice and an opportunity for a hearing on the

  record).

                 The key to unlocking a court's inherent power is a finding of bad
                 faith." Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998)
                 (citing In re Mroz, 65 F.3d 1567, 1575 (11th Cir. 1995) re Mroz,
                 65 F.3d 1567, 1575 (11th Cir. 1995)). "Because the court's inherent
                 power is so potent, it should be exercised 'with restraint and
                 discretion.'" Byrne, 261 F.3d at 1106 (citing Chambers, 501 U.S. at
                 50).


  SEC v. Creative Capital Consortium, LLC, 2009 U.S. Dist. LEXIS 116312, *14 (S.D. Fla. Nov.

  24, 2009). A frivolous pleading is also sanctionable.      In this case, Defendants’ responsive

  pleading violates Section 1927 as they have in bad faith vexatiously multiplied the proceedings.

  See, Peterson v. BMI Refractories, 124 F.3d 1386, 1396 (11th Cir. 1997)(conduct is vexatious

  and unreasonable when it “results in proceedings that would not have been conducted

  otherwise[]”). In the instant matter, Defendants’ pleading [DE93] is frivolous for the reasons set

  forth herein and Defendants and Defendants’ counsel should be sanctioned respectively under 28

  U.S.C. Section 1927.



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         WHEREFORE, PLAINTIFF RESPECTFULLY MOVES THIS COURT TO IMPOSE

  SANCTIONS UNDER 28 U.S.C. SECTION 1927 AGAINST DEFENDANTS AND

  DEFENDANTS’ COUNSEL, JOINTLY AND SEVERALLY, AND ALLOW PLAINTIFF (20)

  DAYS FROM THE COURT’S ORDER TO FILE A MOTION DOCUMENTING THE

  AMOUNT       OF    FEES    AND        COSTS   SOUGHT     RELEVANT       TO    DEFENDANTS’

  SANCTIONABLE PLEADING.

                                   CERTIFICATE OF CONFERRAL

         Defendants did not respond to Plaintiff’s counsel’s conferral attempts made by phone and

  email on different dates and times.

                                                            Respectfully submitted,

                                                            J. H. ZIDELL, P.A.
                                                            ATTORNEYS FOR DEFENDANTS
                                                            300-71ST STREET
                                                            SUITE 605
                                                            MIAMI BEACH, FL 33141
                                                            305-865-6766
                                                            305-865-7167

                                                            _ s/ Rivkah Jaff __
                                                            Rivkah Jaff, Esquire
                                                            Florida Bar No.: 107511

                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
                  WAS PROVIDED VIA CM/ECF ON 4/4/18 TO:

                                  JOSE M. SANCHEZ, ESQ.
                                       JMS LAW, P.A.
                            8355 W. FLAGLER STREET, SUITE 322
                                   MIAMI, FLORIDA 33144
                                      PH: (786) 351-1935
                                     FAX: (786) 999-8813
                              EMAIL: JMS_LAW@YAHOO.COM

                          BY:__/s/____Rivkah F. Jaff_______________

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                             RIVKAH F. JAFF, ESQ.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 17-20186-CIV-JEM

  GLORIDELFA BARRIOS and all others    )
  similarly situated under 29 U.S.C. 216(b),
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                Plaintiffs,            )
        vs.                            )
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  SOLASI, LACAYO TRADE GROUP INC, )
  SOPHIA LACAYO,                       )
                                       )
               Defendants.             )
  ____________________________________ )

    ORDER GRANTING PLAINTIFF’S MOTION FOR SANCTIONS UNDER 28 U.S.C.
                            SECTION 1927

         This cause, having come before the Court on Plaintiff’s above-described motion, and the

  Court being duly advised in the premises, it is ORDERED and ADJUDGED that said motion is

  granted and therefore:

         Sanctions are hereby entered against Defendants and Defendants’ counsel, jointly and

  severally. Plaintiff shall have (20) days from this Order to file a Motion quantifying all fees and

  costs sought/incurred. The Court reserved jurisdiction to enforce same.

         DONE AND ORDERED in chambers in Miami, Florida, on this _______ day of

  _________________, 2018.

                                        ____________________________________
                                        JOSE E. MARTINEZ
                                        UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record




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